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UNITED sTATES DISTRICT CoURT mm av tl£zj__ nn
WESTERN DISTRICT oF TENNESSEE
Western Division 05 JUL "'*6 PH l 3 115
UNITED STATES oF AMERICA CU)§)%§ §STW
-vs- Case No. 2:05cr20157-001Ml

DANIEL CHENEY

 

ORDER OF TEMPORARY DETENTION
PENDING HEARINGl PURSUANT TO
BAIL REFORM ACT

Upon motion of the , it is ORDERED that a detention hearing is set for WEDNESDAY,
JULY 6, 2005 at 2:45 P.M. before United States Magistrate Judge S. Thomas Anderson in
Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Mernphis, TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing

Date: July l, 2005 ,»--'
M

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

‘If not held immediately upon defendant's first appearance, the hearing may be continued for up to three days upon
motion of the government, or up to five days upon motion of the dei"ent;tantl 18 U.S.C. § 3 142(1)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(1] are present. Subsection (1) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer‘s own motion, if there is a serious risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, injure, or intimidate or attempt to threaten,
injure, or intimidate a prospective witness or juror.

AO 470 (B.'BS] Order of Temporary Detenlion

Th|s document entered on the docket sheet in compl|ance
with Flu|e 55 and/or 32(b) FHCrP on ' "

   

UNITED sTATE DRISTIC COURT - WE TER D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 2:05-CR-20157 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

